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                                                                          6                     IN THE UNITED STATES DISTRICT COURT
                                                                          7                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          9   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                         10                                           )
                               For the Northern District of California
United States District Court




                                                                                                                      )   ORDER RE: THE COURT'S ORDER
                                                                         11   This Order Relates To:                  )   ON THOMSON S.A.'s MOTION TO
                                                                                                                      )   DISMISS
                                                                         12     Case No. C-13-1173 SC                 )
                                                                                                                      )
                                                                         13     SHARP ELECTRONICS CORP. and           )
                                                                                SHARP ELECTRONICS MANUFACTURING       )
                                                                         14     COMPANY OF AMERICA, INC.,             )
                                                                                                                      )
                                                                         15                        Plaintiffs,        )
                                                                                                                      )
                                                                         16           v.                              )
                                                                                                                      )
                                                                         17      HITACHI LTD., et al,                 )
                                                                                                                      )
                                                                         18                        Defendants.        )
                                                                                                                      )
                                                                         19                                           )
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                                                                         21
                                                                         22         The Court WITHDRAWS the order denying without prejudice
                                                                         23   Defendant Thomson S.A.'s motion to dismiss and granting
                                                                         24   jurisdictional discovery.     ECF Nos. 2252 ("Order"), 1765 ("MTD").
                                                                         25   The parties superseded the disputed complaint with an amended
                                                                         26   complaint, filed under seal.
                                                                         27   ///
                                                                         28   ///
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                                                                          1        Given the voluminous record in this case, the Court requests
                                                                          2   that the parties be aware of pending motions, stipulations, and
                                                                          3   other deadlines, and to terminate or withdraw them when necessary.
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                                                                          5        IT IS SO ORDERED.
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                                                                          7        Dated: December 13, 2013
                                                                          8                                              UNITED STATES DISTRICT JUDGE

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                               For the Northern District of California
United States District Court




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